
PER CURIAM.
The appellant was convicted and sentenced of (1) breaking and entering a building and (2) grand larceny. The trial was before the court. The appellant was found guilty on both counts. On this appeal, the only substantial question raised is whether the court erred in admitting testimony as to an oral confession. It is contended by the appellant that the confession could not have been made because of a language barrier. In this non-jury trial, both the admissibility and the weight to be given the alleged oral confession were for determination by the trial court. The issue was squarely presented by the positive testimony of the police officer that, at the time of the arrest, the appellant was fully able to understand and make himself understood in English. There is no testimony except that of the defendant that he did not speak English.
Affirmed.
